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               Sheet 1


                                         UNITED STATES DISTRICT COURT
                                                         Southern District of Texas
                                                               Holding Session in McAllen

             UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                             V.                                               (For Revocation of Probation or Supervised Release)
                       MARIA SANCHEZ                                          (For Offenses Committed On or After November 1, 1987)
                                                                                CASE NUMBER: 2:12CR00371-002
                                                                                USM NUMBER: 12844-379

 See Additional Aliases.                                                     Ricardo V. Coronado, Jr.
                                                                                Defendant's Attorney
THE DEFENDANT:
 admitted guilt to violation of condition(s) Mandatory, Standard #2, Standard #6, and Special    of the term of supervision.
 was found in violation  of condition(s)                                        after denial  of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number               Nature of Violation                                                                              Violation Ended
1                              Illegal possession and use of a controlled substance, to wit: cocaine.                           12/03/2013
2A                             Failure to submit a truthful and complete written report within the first                        11/05/2013
                               five days of each month and Failure to report to the probation officer.


 See Additional Violations.

    The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

 The defendant has not violated condition(s)                                                                  and is discharged as to such violation(s) condition.

     It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


Defendant's Soc. Sec. No.: XXX-XX-2067                                        June 13, 2014
                                                                              Date of Imposition of Judgment
                                                                             file:///C|/USDC/JudgeCrane/crane.gif
Defendant's Date of Birth: XX/XX/1992

Defendant's Residence Address:                                                ReservedForJudgeSignature
11013 Leal Street
                                                                              Signature of Judge
Mission, Texas 78573
                                                                              RANDY CRANE
                                                                              UNITED STATES DISTRICT JUDGE
                                                                              Name and Title of Judge
Defendant's Mailing Address:                                                  June 18, 2014
11013 Leal Street                                                             ReservedForSignDate
Mission, Texas 78573
                                                                              Date




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                                                        ADDITIONAL VIOLATIONS

Violation Number                  Nature of Violation                                                         Violation Ended
2B                                Failure to submit a truthful and complete written report within the first   02/05/2014
                                  five days of each month.
2C                                Failure to submit a truthful and complete written report within the first   03/05/2014
                                  five days of each month.
2D                                Failure to submit a truthful and complete written report within the first   05/05/2014
                                  five days of each month.
3                                 Failure to report change in residence 10 days prior to such change.         11/02/2013
4                                 Failure to enroll and participate in an education program designed to       08/09/2013 - 05/07/2014
                                  receive a high school diploma or its equivalency.
5                                 Failure to participate as directed in a mental health treatment program.    12/03/2013,
                                                                                                              01/24/2014, 02/28/2014
                                                                                                              and 03/31/2014
6                                 Failure to participate as directed in a drug/alcohol treatment program.     03/04/2014




    See Additional Violations.
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              Sheet 2 -- Imprisonment
                                                                                                                      Judgment -- Page 3 of 5
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                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 57 days, less 27 days for time served.


   See Additional Imprisonment Terms.

 The court makes the following recommendations to the Bureau of Prisons:

 The defendant is remanded to the custody of the United States Marshal.
 The defendant shall surrender to the United States Marshal for this district:
   by                         a.m.  p.m. on                               .
   as notified by the United States Marshal.
 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
   before 2 p.m. on                                                .
   as notified by the United States Marshal.
   as notified by the Probation or Pretrial Services Office.


                                                                        RETURN

I have executed this judgment as follows:




     Defendant delivered on _______________________________ to ___________________________________
at ______________________________, with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL


                                                                            By
                                                                                               DEPUTY UNITED STATES MARSHAL
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               Sheet 3 -- Supervised Release
                                                                                                                                   Judgment -- Page 4 of 5
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                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 1 year.
The Court further orders that all the terms and conditions previously imposed by the Court, including any special conditions, will remain in
effect, with the exception of the condition to participate in an education program.

    See Additional Supervised Release Terms.

    The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court. (for offenses committed on or after September 13, 1994)

      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
     or is a student, as directed by the probation officer. (Check, if applicable.)
    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    See Special Conditions of Supervision.

1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
     each month;
3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)   the defendant shall support his or her dependents and meet other family responsibilities;
5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
     acceptable reasons;
6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
     controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
     a felony, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
     contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court; and
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
     record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
     defendant's compliance with such notification requirement.
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                                           SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in a program, inpatient or outpatient, for the treatment of drug and/or alcohol addiction, dependency or abuse,
which may include, but not be limited to urine, breath, saliva and skin testing to determine whether the defendant has reverted to the use of
drugs and/or alcohol. Further, the defendant shall participate as instructed and as deemed necessary by the probation officer and shall comply
with all rules and regulations of the treatment agency until discharged by the program director, with approval of the probation officer. The
defendant shall further submit to such drug-detection techniques, in addition to those performed by the treatment agency, as directed by the
probation officer. The defendant will incur costs associated with such drug/alcohol detection and treatment, based on ability to pay as
determined by the probation officer.

The defendant is required to participate in a mental health program as deemed necessary and approved by the probation officer. The defendant
will incur costs associated with such program, based on ability to pay as determined by the probation officer.




   See Additional Special Conditions of Supervision.


     June 18, 2014
